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The Manufacturer-PBM RICO Enterprises

651. For purposes of this claim, the RICO “enterprises” are associations-in-fact
consisting of (a) one of the PBMs that administered purchases of a Defendant Drug
Manufacturer’s brand name drugs and billed its members on the basis of the Defendant Drug
Manufacturer’s reported AWPs, and (b) a Defendant Drug Manufacturer, including its directors,
employees and agents. These associations-in-fact are collectively referred to herem as the
“Manufacturer-PBM Enterprises.”

652. Each of the Manufacturer-PBM Enterprises is an ongoing and continuing business
organization consisting of both corporations and individuals that are and have been associated
for the common or shared purposes of selling, purchasing, and administering AWPIDs to
individual Plaintiffs and Class members and to participants in those Classes that comprise health
and welfare plans, and deriving profits from these activities.

653. Each of the Manufacturer-PBM Enterprises has a systemic lmkage because there
are contractual relationships, financial ties, and continuing coordination of activities between the
Defendant Drug Manufacturer and the specific PBM that are associates. As to each of the
Manufacturer-PBM Enterprises, there is a common communication network by which the
Defendant Drug Manufacturer and the specific PBM share information on a regular basis. As to
each of the Manufacturer-PBM Enterprises, the Defendant Drug Manufacturer and the specific
PBM functioned as a continuing unit. At all relevant times, each of the Manufacturer-PBM
Enterprises was operated by the specific Defendant Drug Manufacturer for criminal purposes,
namely, carrying out the AWP Scheme.

654. Each manufacturer-PBM enterprise had a common purpose of perpetuating use of
AWPs as a benchmark for reimbursement in the pharmaceutical industry. The manufactunng
defendants had this as a purpose, because without the use of inflated AWPs as an industry price

setting benchmark, they would not be able to push the spread to those in the distribution chain.

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The PBMs share this common purpose, because they are subject to a great deal of control from
the manufacturers. PBMs are now tuming to drug manufacturers for hidden profit-making
schemes, because PBM clients are no longer allowing PBMs to collect as much for claims
administration. Thus, as 2 result, PRMs have, with the knowing and wiliful participation and
assistance of the drug manufacturers, engaged in hidden profit-making schemes falling into three
general categories: (i) garnering rebates and other “soft dollars” from drug manufacturers that
the PBM Defendants, to a large extent, keep without disclosing to their health plans the true
amounts of the rebates; (ii) pocketing secret spreads between actual drug costs and the prices
charged to bealth plans and their members; and (iii) keeping secret discounts provided by the
drug manufacturers in association with the PBMs’ mail order operations.

655. The existence and magnitude of PBM rebates and accompanying profits at the
expense of PBM clients is acknowledged within the PBM industry. For example, a recent

industry report observed:

[Rebates paid to the PBMs by pharmaceutical companies continue
to mecrease, as evidenced by the increasing PBM profits... . [T]jhis
should hold true so long as the PBMs add value [apparently to the
drug makers] by moving market share within drug classes.

656. Thus, PBMs were willing participants in the enterprise, and each participant in the
enterprise shared many common purposes.

657. Further, as a result of their reliance on the manufacturers, PBMs took mstructions
and commands from the manufacturers regarding the use of AWP, not only so that they could
keep part of the spread, but also so as to continue to earn from the manufacturers: (i) Access
rebates for placement of products on the PBMs’ formulary; (1) Market share rebates for
gamering higher market share than established targets; (iii) Administrative fees for assembling

data to verify market share results; and (iv) Grher fees and grants in an effort to promote

products.

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658. In order to garner all of these fees from the drug manufacturers, the PBMs each
meet on a frequent basis to discuss drug prices, spreads, marketing opportunities and
coordination of all of the above.

659. There is a common communication network between each PBM and each
manufacturer for the purpose of implementing the AWP spread scheme and for the exchange of
financial rewards for the PBMs activities that benefit the drug company manufacturers.

660. Atall relevant times, each one of the PBMs was aware of the Defendants Dmg
Manufacturers’ AWP Scheme, was a knowing and willing participant in that scheme, and reaped
profits from that scheme.

661. For purposes of this count, the Manufacturer-PBM Enterprises are identified as
follows:

(a) The Abbott Manufacturer-PBM Enterprises: The Abbott Manufacturer-

PBM Enterprises are four separate associations-in-fact consisting of each of the PBMs

that administered purchases of Abbott’s AWPIDs and billed its members on the basis of

Abbott’s reported AWPs, and Abbott, including its directors, employees and agents:

(1) the Abbott-AdvancePCS Enterprise; (2) the Abbott-Caremark Rx Enterprise; (3) the

Abbott-Express Scripts Enterprise; and (4) the Abbott-Medco Health Enterprise. Each of

the Abbott Manufacturer-PBM Enterprises is an ongoing and continuing business

organization consisting of both corporations and individuals that are and have been
associated for the common or shared purposes of selling, purchasing, prescribing and
administering AWPIDs to Plaintiffs and Class members, and deriving profits from these
activities. Each of the Abbott Manufacturer-PBM Enterprises has a systemic linkage
because there are contractual relationsiips, financial ties, and continuing coordination of
activities between Abbott and AdvancePCS, Abbott and Caremark Rx, Abbott and

Express Scripts, and Abbott and Medco Health. As to each of these Abbott

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Manufacturer-PBM Enterprises, there is a common communication network by which
Abbott and AdvancePCS, Abbott and Caremark Rx, Abbott and Express Scripts, and
Abbott and Medco Health share information on a regular basis. As to each of these
Abbott-Manufacturer-PBM Enterprises, Abbott and AdvancePCS, Abbott and Caremark
Rx, Abbott and Express Scripts, and Abbott and Medco Health functioned as continuing
but separate units. At all relevant times, each of the Abbott Manufacturer-PBM
Enterprises was operated and conducted by Abbott for criminal purposes, namely,
carrying out the AWP Scheme.

(b) The Amgen Manujacturer-PBM Enterprises: The Amgen Manufacturer-
PBM Enterprises are four separate associations-in-fact consisting of each of the PBMs
that administered purchases of Amgen’s AWPIDs and billed its members on the basis of
Amgen’s reported AWPs, and Amgen, including its directors, employees and agents:
(1) the Amgen-AdvancePCS Enterprise; (2) the Amgen-Caremark Rx Enterprise; (3) the
Amgen-Express Scripts Enterprise; and (4) the Amgen-Medco Health Enterprise. Each
of the Amgen Manufacturer-PBM Enterprises is an ongoing and continuing business
organization consisting of both corporations and individuals that are and have been
assaciated for the common or shared purposes of selling, purchasing, prescribing and
administering AWPIDs to Plaintiffs and Class members, and deriving profits from these
activities. Each of the Amgen Manufacturer-PBM Enterprises has a systemic linkage -
because there are contractual relationships, financial ties, and continuing coordination of
activities between Amgen and AdvancePCS, Amgen and Caremark Rx, Amgen and
Express Scripts, and Amgen and Medco Health. As to each of these Amgen
Manufacturer-PBM Enterprises, there is a common communication network by which
Amgen and AdvancePCS, Amgen and Caremark Rx, Amgen and Express Scripts, and

Amgen and Medco Health share information on a regular basis. As to each of these

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Amgen-Manufacturer-PBM Enterprises, Amgen and AdvancePCS, Amgen and Caremark
Rx, Amgen and Express Scripts, and Amgen and Medco Health functioned as continuing
but separate units. At all relevant times, each of the Amgen Manufacturer-PBM
Enterprises was operated and conducted by Amgen for criminal purposes, namely,
carrying out the AWP Scheme.

(c) The AstraZeneca Manufacturer-PBM Enterprises: The AstraZeneca
Manufacturer-PBM Enterprises are four separate associations-in-fact consisting of each
of the PBMs that administered purchases of AstraZeneca’s A WPIDs and bilied its
members on the basis of AstraZeneca’s reported AWPs, and AstraZeneca, including its
directors, employees and agents: (1) the AstraZeneca-AdvancePCS Enterprise; (2) the
AstraZeneca-Caremark Rx Enterprise; (3) the AstraZeneca-Express Scripts Enterprise;
and (4) the AstraZeneca~-Medco Health Enterprise. Each of the AstraZeneca
Manufacturer-PBM Enterprises is an ongoing and continuing business organization
consisting of both corporations and individuals that are and have been associated for the
common or shared purposes of selling, purchasing, prescribing and administering
AWPIDs to Plainaffs and Class members, and dexiving profits from these activities.
Each of the AstraZeneca Manufacturer-PBM Enterprises has a systemic linkage because
there are contractual relationships, financial ties, and continuing coordination of activities
between AstraZeneca and AdvancePCS, AstraZeneca and Caremark Rx, AstraZeneca
and Express Scripts, and AstraZeneca and Medco Health. As to each of these
AstraZeneca Manufacturer-PBM Enterprises, there is a common communication network
by which AstraZeneca and AdvancePCS, AstraZeneca and Caremark Rx, AstraZeneca
and Express Scripts, and AstraZeneca and Medco Health share information on a regular
basis. As to each of these AstraZeneca~-Manufacturer-PBM Enterprises, AstraZeneca and

AdvancePCS, AstraZeneca and Caremark Rx, AstraZeneca and Express Scripts, and

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AstraZeneca and Medco Health functioned as continuing but separate units. At all
relevant times, each of the AstraZeneca Manufacturer-PBM Enterprises was operated and
conducted by AstraZeneca for criminal purposes, namely, carrying out the AWP Scheme.
(d) The Aventis Group Manufacturer-PBM Enterprise: The Aventis Group
Manufacturer-PBM Enterprises are four separate associations-in-fact consisting of each
of the PBMs that administered purchases of Aventis Group’s AWPIDs and billed its
members on the basis of Aventis Group’s reported AWPs, and Aventis Group, including
its directors, employees and agents: (1) the Aventis Group-AdvancePCS Enterprise;
(2) the Aventis Group-Caremark Rx Enterprise; (3) the Aventis Group-Express Scripts
Enterprise; and (4) the Aventis Group-Medco Health Enterprise. Each of the Aventis
Group Manufacturer-PBM Enterprises is an ongoing and continuing business
organization consisting of both corporations and individuals that are and have been
associated for the common or shared purposes of selling, purchasing, prescribing and
administering AWPIDs to Plainttfis and Class members, and deriving profits from these
activities. Each of the Aventis Group Manufacturer-PBM Enterprises has a systemic
linkage because there are contractual relationships, financial ties, and continuing
coordination of activities between Aventis Group and AdvancePCS, Aventis Group and
Caremark Rx, Aventis Group and Express Scripts, and Aventis Group and Medco Health.
As to each of these Aventis Group Manufacturer-PBM Enterprises, there is a common
communication network by which Aventis Group and AdvancePCS, Aventis Group and
Caremark Rx, Aventis Group and Express Scripts, and Aventis Group and Medco Health
share information on a regular basis. As to each of these Aventis Group-Manufacturer-
PBM Enterprises, Aventis Group and AdvancePCS, Aventis Group and Caremark Rx,
Aventis Group and Express Scripts, and Aventis Group and Medco Health functioned as

continuing but separate units. At all relevant times, each of the Aventis Group

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Manufacturer-PBM Enterprises was operated and conducted by Aventis Group for
crimimal purposes, namely, carrying out the AWP Scheme.

(e) The Baxter Manufacturer-PBM Enterprises: The Baxter Manufacturer-
PBM Enterprises are four separate associations-in-fact consisting of each of the PBMs
that administered purchases of Amgen’s AWPIDs and billed its members on the basis of
Baxter’s reported AWPs, and Baxter, including its directors, employees and agents:
(1) the Baxter-AdvancePCS Enterprise; (2) the Baxter-Caremark Rx Enterprise; (3) the
Baxter-Express Scripts Enterprise; and (4) the Baxter-Medco Health Enterprise. Each of
the Baxter Manufacturer-PBM Enterprises is an ongoing and continuing business
organization consisting of both corporations and individuals that are and have been
associated for the common or shared purposes of selling, purchasing, prescribing and
administering AWPIDs to Plaintiffs and Class members, and deriving profits from these
activities. Each of the Baxter Manufacturer-PBM Enterprises has a systemic linkage
because there are contractual relationships, financial ties, and continuing coordination of
activities between Baxter and AdvancePCS, Baxter and Caremark Rx, Baxter and
Express Scripts, and Baxter and Medco Health. As to each of these Baxter Manufacturer-
PBM Enterprises, there is a common communication network by which Baxter and
AdvancePCS, Baxter and Caremark Rx, Baxter and Express Scripts, and Baxter and
Medco Health share information on a regular basis. As to each of these Baxter-
Manufacturer-PBM Enterprises, Baxter and AdvancePCS, Baxter and Caremark Rx,
Baxter and Express Scripts, and Baxter and Medco Health functioned as continuing but
separate units. At all relevant times, each of the Baxter Manufacturer-PBM Enterprises
was operated and conducted by Baxter for criminal purposes, namely, carrying out the
AWP Scheme.

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(f) The Bayer Manufacturer-PBM Enterprises: The Bayer Manufacturer-
PBM Enterprises are four separate associations-in-fact consisting of each of the PBMs
that administered purchases of Bayer’s AWPIDs and billed its members on the basis of
Bayer’s reported AWPs, and Bayer, including its directors, employees and agents:
(1) the Bayer-AdvancePCS Enterprise; (2) the Bayer-Caremark Rx Enterprise; (3) the
Bayer-Express Scripts Enterprise; and (4) the Bayer-Medco Health Enterprise. Each of
the Bayer Manufacturer-PBM Enterprises is an ongoing and continuing business
organization consisting of both corporations and individuals that are and have been
associated for the common or shared purposes of selling, purchasing, prescribing and
administermg AWPIDs to Plaintiffs and Class members, and deriving profits from these
activities. Each of the Bayer Manufacturer-PBM Enterprises has a systemic linkage
because there are contractual relationships, financial ties, and continuing coordination of
activities between Bayer and AdvancePCS, Bayer and Caremark Rx, Bayer and Express
Scripts, and Bayer and Medco Health. As to each of these Bayer Manufacturer-PBM
Enterprises, there is a common communication network by which Bayer and
AdvancePCS, Bayer and Caremark Rx, Bayer and Express Scripts, and Bayer and Medco
Health share information on a regular basis. As to each of these Bayer-Manufacturer-
PBM Enterprises, Bayer and AdvancePCS, Bayer and Caremark Rx, Bayer and Express
Scripts, and Bayer and Medco Health functioned as continuing but separate units. At all
relevant times, each of the Bayer Manufacturer-PBM Enterprises was operated and
conducted by Bayer for criminal purposes, namely, carrying out the AWP Scheme.

(zg) The Boehringer Group Manufacturer-PBM Enterprise: The Boehringer
Group Manufacturer-PBM Enterprises are four separate associations-in-fact consisting of
each of the PBMs that administered purchases of Boehringer Group’s AWPIDs and billed
its members on the basis of Boehringer Group’s reported AWPs, and Boehringer Group,

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including its directors, employees and agents: (1) the Boehringer Group-AdvancePCS
Enterprise; (2) the Boehringer Group-Caremark Rx Enterprise; (3) the Boehringer Group-
Express Scripts Enterprise; and (4) the Boehringer Group-Medco Health Enterprise.
Each of the Boehringer Group Manufacturer-PBM Enterprises is an ongoing and
continuing business organization consisting of both corporations and individuals that are
and have been associated for the common or shared purposes of selling, purchasing,
prescribing and administering AWPIDs to Plaintiffs and Class members, and deriving
profits from these activities. Each of the Boehringer Group Manufacturer-PBM
Enterprises has a systemic linkage because there are contractual relationships, financial
ties, and continuing coordination of activities between Boehringer Group and
AdvancePCS, Boehringer Group and Caremark Rx, Boehringer Group and Express
Scripts, and Boehringer Group and Medco Health. As to each of these Boehringer Group
Manufacturer-PBM Enterprises, there is a common communication network by which
Boehringer Group and AdvancePCS, Boehringer Group and Caremark Rx, Boehringer
Group and Express Scripts, and Boehringer Group and Medco Health share information
on a regular basis. As to each of these Boehringer Group-Manufacturer-PBM
Enterprises, Boehringer Group and AdvancePCS, Boehringer Group and Caremark Rx,
Boehringer Group and Express Scripts, and Boehringer Group and Medco Health
functioned as continuing but separate units. At ali relevant times, each of the Boehringer
Group Manufacturer-PBM Enterprises was operated and conducted by Boehringer Group
for criminal purposes, namely, carrying out the AWP Scheme.

(h) The Braun Manufacturer-PBM Enterprise: The Braun Manufacturer-
PBM Enterprises are four separate associations-in-fact consistmg of each of the PBMs
that administered purchases of Braun’s AWPIDs and billed its members on the basis of

Braun’s reported AWPs, and Braun, including its directors, employees and agents: (1)

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the Braun-AdvancePCS Enterprise; (2) the Braun-Caremark Rx Enterprise; (3) the
Braun-Express Scripts Enterprise; and (4) the Braun-Medco Health Enterprise. Each of
the Braun Manufacturer-PBM Enterprises is an ongoing and continuing business
organization consisting of both corporations and mdividuals that are and have been
associated for the common or shared purposes of selling, purchasing, prescribing and
administering AWPIDs to Plaintiffs and Class members, and deriving profits from these
activities. Each of the Braun Manufacturer-PBM Enterprises has a systemic linkage
because there are contractual relationships, financial ties, and continuing coordination of
activities between Braun and AdvancePCS, Braun and Caremark Rx, Braun and Express
Scripts, and Braun and Medco Health. As to each of these Braun Manufacturer-PBM
Enterprises, there is a common communication network by which Braun and
AdvancePCS, Braun and Caremark Rx, Braun and Express Scripts, and Braun and
Medco Health share information on a regular basis. As to each of these Braun-
Manufacturer-PBM Enterprises, Braun and AdvancePCS, Braun and Caremark Rx,
Braun and Express Scripts, and Braun and Medco Health functioned as continuing but
separate units. At all relevant times, each of the Braun Manufacturer-PBM Enterprises
was operated and conducted by Braun for criminal purposes, namely, carrying out the
AWP Scheme.

Q) The BMS Group Manufacturer-PBM Enterprises: The BMS Group
Manufacturer-PBM Enterprises are four separate associations-m-fact consisting of each
of the PBMs that administered purchases of BMS Group’s AWPIDs and billed its
members on the basis of BMS Group’s reported AWPs, and BMS Group, including its
directors, employees and agents: (1) the BMS Group-AdvancePCS Enterprise; (2) the
BMS Group-Caremark Rx Enterprise; (3) the BMS Group-Express Scripts Enterprise;
and (4) the BMS Group-Medco Health Enterprise. Each of the BMS Group

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Manufacturer-PBM Enterprises is an ongoing and continuing business organization
consisting of both corporations and individuals that are and have been associated for the
commion or shared purposes of selling, purchasing, prescribing and administering
AWPIDs to Plaintifis and Class members, and deriving profits from these activities.
Each of the BMS Group Manufacturer-PBM Enterprises has a systemic linkage because
there are contractual relationships, financial ties, and continuing coordination of activities
between BMS Group and AdvancePCS, BMS Group and Caremark Rx, BMS Group and
Express Scripts, and BMS Group and Medco Health. As to each of these BMS Group
Manufacturer-PBM Enterprises, there is a common communication network by which
BMS Group and AdvancePCS, BMS Group and Caremark Rx, BMS Group and Express
Scripts, and BMS Group and Medco Health share information on a regular basis. As to
each of these BMS Group-Manufacturer-PBM Enterprises, BMS Group and
AdvancePCS, BMS Group and Caremark Rx, BMS Group and Express Scripts, and BMS
Group and Medco Health functioned as continuing but separate units. At all relevant
times, each of the BMS Group Manufacturer-PBM Enterprises was operated and
conducted by BMS Group for criminal purposes, namely, carrying out the AWP Scheme.

4) The Fujisawa Group Manufacturer-PBM Enterprise: The Fujisawa
Group Manufacturer-PBM Enterprises are four separate associations-in-fact consisting of
each of the PBMs that administered purchases of Fujisawa Group’s AWPIDs and billed
its members on the basis of Fujisawa Group’s reported AWPs, and Fujisawa Group,
including its directors, employees and agents: (1) the Fujisawa Group-AdvancePCS
Enterprise; (2) the Fujisawa Group-Caremark Rx Enterprise; (3) the Fujisawa Group-
Express Scripts Enterprise; and (4) the Fujisawa Group-Medco Health Enterprise. Each
of the Fujisawa Group Manufacturer-PBM Enterprises is an ongoing and continuing

business organization consisting of both corporations and individuals that are and have

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been associated for the common or shared purposes of selling, purchasing, prescribing
and administering AWPIDs to Plaintiffs and Class members, and deriving profits from.
these activities. Each of the Fujisawa Group Manufacturer-PBM Enterprises has a
systemic linkage because there are contractual relationships, financial ties, and continuing
coordination of activities between Fujisawa Group and AdvancePCS, Fujisawa Group
and Caremark Rx, Fujisawa Group and Express Scripts, and Fujisawa Group and Medco
Health. As to each of these Fujisawa Group Manufacturer-PBM Enterprises, there is a
common communication network by which Fujisawa Group and AdvancePCS, Fujisawa
Group and Caremark Rx, Fujisawa Group and Express Scripts, and Fujisawa Group and
Medco Health share information on a regular basis. As to each of these Fujisawa Group-
Manufacturer-PBM Enterprises, Fujisawa Group and AdvancePCS, Fujisawa Group and
Caremark Rx, Fujisawa Group and Express Scripts, and Fujisawa Group and Medco
Health functioned as continuing but separate units. At ail relevant times, each of the
Fujisawa Group Manufacturer-PBM Enterprises was operated and conducted by Fujisawa
Group for criminal purposes, namely, carrying out the AWP Scheme.

{k} The GSK Group Manufacturer-PBM Enterprises: The GSK Group
Manufacturer-PBM Enterprises are four separate associations-m-fact consisting of each
of the PBMs that administered purchases of GSK Group’s AWPIDs and billed its
members on the basis of GSK Group’s reported AWPs, and GSE Group, including its
directors, employees and agents: (1) the GSK Group-AdvancePCS Enterprise; (2) the
GSK Group-Caremark Rx Enterprise; (3) the GSK Group-Express Scripts Enterprise; and
(4) the GSK Group-Medco Health Enterprise. Each of the GSK Group Manufacturer-
PBM Enterprises is an ongoimg and continuing business organization consisting of both
corporations and individuals that are and have been associated for the common or shared

purposes of selling, purchasing, prescribing and administering AWPIDs to Plaintiffs and

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Class members, and deriving profits from these activities. Each of the GSK Group
Manufacturer-PBM Enterprises has a systemic linkage because there are contractual
relationships, financial ties, and continuing coordination of activities between GSK.
Group and AdvancePCS, GSK Group and Caremark Rx, GSK Group and Express
Scripts, and GSK Group and Medco Health. As to each of these GSK. Group
Manufacturer-PBM Enterprises, there is a common communication network by which
GSK Group and AdvancePCS, GSK Group and Caremark Rx, GSK. Group and Express
Scripts, and GSK Group and Medco Health share information on a regular basis. As to
each of these GSK Group-Manufacturer-PBM Enterprises, GSK. Group and
AdvancePCS, GSK Group and Caremark Rx, GSK Group and Express Scripts, and GSK.
Group and Medco Health functioned as continuing but separate units. At all relevant
times, each of the GSK Group Manufacturer-PBM Enterprises was operated and
conducted by GSK Group for criminal purposes, namely, carrying out the AWP Scheme.
(D The Hoffman-La Roche Manufacturer-PBM Enterprises: The Hoffman-
La Roche Manufacturer-PBM Enterprises are four separate associations-in-fact consisting
of each of the PBMs that administered purchases of Hoffman-La Roche’s AWP!Ds and
billed its members on the basis of Hoffman-La Roche’s reported AWPs, and Hoffman-La
Roche, including its directors, employees and agents: (1) the Hoffman-La Roche-
AdvancePCS Enterprise; (2) the Hoffman-La Roche-Caremark Rx Enterprise; (3) the"
Hoffman-La Roche-Express Scripts Enterprise; and (4) the Hoffman-La Roche-Medco
Health Enterprise. Each of the Hoffman-La Roche Manufacturer-PBM Enterprises is an
ongoing and continuing business organization consisting of both corporations and
individuals that are and have been associated for the common or shared purposes of
selling, purchasing, prescribing and admimistering AWPIDs to Plaintiffs and Class

members, and deriving profits from these activities. Each of the Hoffman-La Roche

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Manufacturer-PBM Enterprises has a systemic linkage because there are contractual
relationships, financial ties, and contimting coordination of activities between Hoffman-
La Roche and AdvancePCS, Hofiman-La Roche and Caremark Rx, Hoffman-La Roche
and Express Scripts, and Hofiman-La Roche and Medco Health. As to each of these
Hoffman-La Roche Manufacturer-PBM Enterprises, there is a common communication
network by which Hoffman-La Roche and AdvancePCS, Hoffman-La Roche and
Caremark Rx, Hofiman-La Roche and Express Scripts, and Hoffman-La Roche and
Medco Health share information on a regular basis. As to each of these Hoffman-La
Roche Manufacturer-PBM Enterprises, Hoffman-La Roche and AdvancePCS, Hoffman-
La Roche and Caremark Rx, Hoffman-La Roche and Express Scripts, and Hoffman-La
Roche and Medco Health functioned as continuing but separate units. At all relevant
times, each of the Hoffman-La Roche Manufacturer-PBM Enterprises was operated and
conducied by Hoffman-La Roche for criminal purposes, namely, carrying out the AWP
Scheme.

{m) The lmmunex Manufacturer-PBM Enterprises; The immunex
Manufacturer-PBM Enterprises are four separate associations-in-fact consisting of each
of the PBMs that administered purchases of Immunex’s AWPIDs and billed its members
on the basis of Immunex’s reported AWPs, and Immunex, including its directors,
employees and agents: (1) the Immunex-AdvancePCS Enterprise; (2) the Immunex-
Caremark Rx Enterprise; (3) the Immunex-Express Scripts Enterprise; and (4) the
Immunex-Medco Health Enterprise. Each of the Immunex Mannfacturer-PBM
Enterprises is an ongomg and continuing business organization consisting of both
corporations and individuals that are and have been associated for the common or shared
purposes of selling, purchasing, prescribing and administering AWPIDs to Plaintiffs and

Class members, and deriving profits from these activities. Each of the Immunex

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Manufacturer-PBM Enterprises has a systemic linkage because there are contractual
relationships, financial ties, and continuing coordination of activities between Inmmunex
and AdvancePCS, Immunex and Caremark Rx, Immunex and Express Scripts, and
Immunex and Medco Health. As to each of these Immunex Manufacturer-PBM
Enterprises, there is a common communication network by which Immunex and
AdvancePCS, Immunex and Caremark Rx, Immunex and Express Scripts, and Immmunex
and Medco Health share information on a regular basis. As to each of these Immunex
Manufacturer-PBM Enterprises, Immunex and AdvancePCS, Immunex and Caremark
Rx, Immunex and Express Scripts, and Immunex and Medco Health functioned as
continuing but separate units. At all relevant times, each of the Immunex Manufacturer-
PBM Enterprises was operated and conducted by Immunex for criminal purposes,
namely, carrying out the AWP Scheme.

(n) The Johnson & Johnson Group Manufacturer-PBM Enterprise: The
Johnson & Johnson Group Manufacturer-PBM Enterprises are four separate associations-
in-fact consisting of each of the PBMs that administered purchases of Johnson & Johnson
Group’s AWPIDs and billed its members on the basis of Johnson & Johnson Group’s
reported AWPs, and Johnson & Johnson Group, including its directors, employees and
agents: (1) the Johnson & Johnson Group-AdvancePCS Enterprise; (2) the Johnson &
Johnson Group-Caremark Rx Enterprise; (3) the Johnson & Johnson Group-Express
Scripts Enterprise; and (4) the Johnson & Johnson Group-Medco Health Enterprise.
Each of the Johnson & Johnson Group Manufacturer-PBM Enterprises is an ongoing and
continuing business organization consisting of both corporations and individuals that are
and have been associated for the common or shared purposes of selling, purchasing,
prescribing and administering AWPIDs to Plaintiffs and Class members, and deriving

profits from these activities. Each of the Johnson & Johnson Group Manufacturer-PBM

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Enterprises has a systemic linkage because there are contractual relationships, financial
ties, and continuing coordination of activities between Johnson & Johnson Group and
AdvancePCS, Johnson & Johnson Group and Caremark Rx, Johnson & Johnson Group
and Express Scripts, and Johnson & Johnson Group and Medco Health. As to each of
these Johnson & Johnson Group Manufaciturer-PBM Enterprises, there is a common
communication network by which Johnson & Johnson Group and AdvancePCS, Johnson
& Johnson Group and Caremark Rx, Johnson & Johnson Group and Express Scripts, and
Johnson & Johnson Group and Medco Health share information on a regular basis. As to
each of these Johnson & Johnson Group-Manufacturer-PBM Enterprises, Johnson &
Johnson Group and AdvancePCS, Johnson & Johnson Group and Caremark Rx, Johnson
& Johnson Group and Express Scripts, and Johnson & Johnson Group and Medco Health
functioned as continuing but separate units. At all relevant times, each of the Johnson &
Johnson Group Manufacturer-PBM Enterprises was operated and conducted by Johnson
& Johnson Group for criminal purposes, namely, carrying out the AWP Scheme.

(a) The Pfizer Manufacturer-PBM Enterprises: The Pfizer Manufacturer-
PBM Enterprises are four separate associations-in-fact consisting of each of the PBMs
that administered purchases of Pfizer’s AWPIDs and billed its members on the basis of
Pfizer’s reported AWPs, and Pfizer, including its directors, employees and agents:
(1) the Pfizer-AdvancePCS Enterprise; (2) the Pfizer-Caremark Rx Enterprise; (3) the
Pfizer-Express Scripts Enterprise; and (4) the Pfizer-Medco Health Enterprise. Each of
the Pfizer Manufacturer-PBM Enterprises is an ongoing and continuing business
organization consisting of both corporations and individuals that are and have been
associated for the common or shared purposes of selling, purchasing, prescribing and
administering AWPIDs to Plaintiffs and Class members, and deriving profits from these

activities. Each of the Pfizer Manufacturer-PBM Enterprises has a systemic linkage

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because there are contractual relationships, financial ties, and continuing coordination of
activities between Pfizer and AdvancePCS, Pfizer and Caremark Rx, Pfizer and Express
Scripts, and Pfizer and Medco Health. As to each of these Pfizer Manufacturer-PBM
Enterprises, there is a common communication network by which Pfizer and
AdvancePCS, Pfizer and Caremark Rx, Pfizer and Express Scripts, and Pfizer and Medco
Health share information on a regular basis. As to each of these Pfizer Manufacturer-
PBM Enterprises, Pfizer and AdvancePCS, Pfizer and Caremark Rx, Pfizer and Express
Scripts, and Pfizer and Medco Health functioned as continuing but separate units. At all
relevant times, each of the Pfizer Manufacturer-PBM Enterprises was operated and
conducted by Pfizer for criminal! purposes, namely, carrying out the AWP Scheme.

(p) The Pharmacia Group Manufacturer-PBM Enterprises: The Pharmacia
Group Manufacturer-PBM Enterprises are four separate associations-in-fact consisting of
each of the PBMs that administered purchases of Pharmacia Group’s AWPIDs and billed
its members on the basis of Pharmacia Group’s reported AWPs, and Pharmacia Group,
including its directors, employees and agents: (1) the Pharmacia Group-AdvancePCS
Enterprise; (2) the Pharmacia Group-Caremark Rx Enterprise; (3) the Pharmacia Group-
Express Scripts Enterprise; and (4) the Pharmacia Group-Medco Health Enterprise. Each
of the Pharmacia Group Manufacturer-PBM Enterprises is an ongoing and continuing
business organization consisting of both corporations and individuals that are and have
been associated for the common or shared purposes of selling, purchasing, prescribing
and administering AWPIDs to Plaintiffs and Class members, and deriving profits from
these activities. Each of the Pharmacia Group Manufacturer-PBM Enterprises has a
systemic linkage because there are contractual relationships, financial ties, and continuing
coordination of activities between Pharmacia Group and AdvancePCS, Pharmacia Group
and Caremark Rx, Pharmacia Group and Express Scripts, and Pharmacia Group and

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Medco Health. As to each of these Pharmacia Group Manufacturer-PBM Enterprises,
there is a common communication network by which Pharmacia Group and
AdvancePCS, Pharmacia Group and Caremark Rx, Pharmacia Group and Express
Scripts, and Pharmacia Group and Medco Health share information on a regular basis.

As to each of these Pharmacia Group-Manufacturer-PBM Enterprises, Pharmacia Group
and AdvancePCS, Pharmacia Group and Caremark Rx, Pharmacia Group and Express
Scripts, and Pharmacia Group and Medco Health functioned as continuing but separate
units. At all relevant times, each of the Pharmacia Group Manufacturer-PBM Enterprises
was operated and conducted by Pharmacia Group for criminal purposes, namely, carrymg
out the AWP Scheme.

(q) The Schering-Plough Group Manufacturer-PBM Enterprises: The
Schering-Plough Group Manufacturer-PBM Enterprises are four separate associations-in-
fact consisting of each of the PBMs that administered purchases of Schering-Plough
Group’s AWPIDs and billed its members on the basis of Schering-Plough Group’s
reported AWPs, and Schering-Plough Group, including its directors, employees and
agents: (1) the Schering-Plough Group-AdvancePCS Enterprise; (2) the Schering-Plough
Group-Caremark Rx Enterprise; (3) the Schering-Plough Group-Express Scripts
Enterprise; and (4) the Schering-Plough Group-Medco Health Enterprise. Each of the
Schering-Plough Group Manufacturer-PBM Enterprises is an ongoing and continuing
business organization consisting of both corporations and individuals that are and have
been associated for the common or shared purposes of selling, purchasing, prescribing
and administering AWPIDs to Plaintiffs and Class members, and deriving profits from
these activities. Each of the Schering-Plough Group Manufacturer-PBM Enterprises has
a systemic linkage because there are contractual relationships, financial ties, and

continuing coordination of activities between Schering-Plough Group and AdvancePCS,

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Schering-Plough Group and Caremark Rx, Schering-Piough Group and Express Scripts,
and Schering-Plough Group and Medco Health. As to each of these Schering-Plough
Group Manufacturer-PBM Enterprises, there is a common communication network by
which Schering-Plough Group and AdvancePCS, Schering-Plough Group and Caremark
Rx, Schering-Plough Group and Express Scripts, and Schering-Plough Group and Medco
Health share information on a regular basis. As to each of these Schering-Plough Group-
Manufacturer-PBM Enterprises, Schering-Plough Group and AdvancePCS, Schering-
Plough Group and Caremark Rx, Schering-Plough Group and Express Scripts, and
Schering-Plough Group and Medco Health functioned as continuing but separate umits.
At all relevant times, each of the Schering-Plough Group Manufacturer-PBM Enterprises
was operated and conducted by Schering-Plough Group for criminal purposes, namely,
carrying out the AWP Scheme.

(r) The Sicor Group Manufacturer-PBM Enterprises: The Sicor Group
Manufacturer-PBM Enterprises are four separate associations-in-fact cousisting of each
of the PBMs that administered purchases of Sicor Group’s AWPIDs and billed its
members on the basis of Sicor Group’s reported AWPs, and Sicor Group, including its
directors, employees and agents: (1) the Sicor Group-AdvancePCS Enterprise; (2) the
Sicor Group-Caremark Rx Enterprise; (3) the Sicor Group-Express Scripts Enterprise;
and (4) the Sicor Group-Medco Health Enterprise. Each of the Sicor Group —
Manufacturer-PBM Enterprises is an ongoing and continuing business organization
consisting of both corporations and individuals that are and have been associated for the
conunon or shared purposes of selling, purchasing, prescribing and administermg
AWPIDs to Plaintiffs and Class members, and deriving profits from these activities.
Each of the Sicor Group Manufacturer-PBM Enterprises has a systemic linkage because

there are contractual relationships, financial ties, and continuing coordination of activities

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between Sicor Group and AdvancePCS, Sicor Group and Caremark Rx, Sicor Group and
Express Scripts, and Sicor Group and Medco Health. As to each of these Sicor Group
Manufacturer-PBM Enterprises, there is a common communication network by which
Sicor Group and AdvancePCS, Sicor Group and Caremark Rx, Sicor Group and Express
Scripts, and Sicor Group and Medco Health share information on 2 regular basis. As to
each of these Sicor Group-Manufacturer-PBM Enterprises, Sicor Group and
AdvancePCS, Sicor Group and Caremark Rx, Sicor Group and Express Scripts, and Sicor
Group and Medco Health functioned as continuing but separate units. At all relevant
times, each of the Sicor Group Manufacturer-PBM Enterprises was operated and
conducted by Sicor Group for criminal purposes, namely, carrying out the AWP Scheme.
(s) The Watson Manufacturer-PBM Enterprises: The Watson Manufacturer-
PBM Enterprises are four separate associations-in-fact consisting of each of the PBMs
that administered purchases of Watson’s AWPIDs and billed its members on the basis of
Watson’s reported AWPs, and Pfizer, including its directors, employees and agents:
(1) the Watson-AdvancePCS Enterprise; (2) the Watson-Caremark Rx Enterprise; (3) the
Watson-Express Scripts Enterprise; and (4) the Watson-Medco Health Enterprise. Each
of the Watson Manufacturer-PBM Enterprises is an ongoing and continuing business
organization consisting of both corporations and individuals that are and have been
associated for the common or shared purposes of selling, purchasing, prescribing and
administering AWPIDs to Plaintiffs and Class members, and deriving profits from these
activities. Each of the Watson Manufacturer-PBM Enterprises has a systemic linkage
because there are contractual relationships, financial ties, and continuing coordination of
activities between Watson and AdvancePCS, Watson and Caremark Rx, Watson and
Express Scripts, and Watson and Medco Health. As to each of these Watson

Manufacturer-PBM Enterprises, there is a common communication network by which

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Watson and AdvancePCS, Watson and Caremark Rx, Watson and Express Scripts, and
Watson and Medco Health share information on a regular basis. As to each of these
Watson Manufacturer-PBM Enterprises, Watson and AdvancePCS, Watson and
Caremark Rx, Watson and Express Scripts, and Watson and Medco Health functioned as
continuing but separate units. At all relevant times, each of the Watson Manufacturer-
PBM Enterprises was operated and conducted by Watson for criminal purposes, namely,
carrying out the AWP Scheme.

{t) The TAP Manufacturer-PBM Enterprises: The TAP Manufacturer-PBM
Enterprises are four separate associations-in-fact consisting of each of the PBMs that
administered purchases of TAP’s AWPIDs and billed its members on the basis of TAP’s
reported AWPs, and Pfizer, including its directors, employees and agents: (1) the TAP-
AdvancePCS Enterprise; (2) the TAP-Caremark Rx Enterprise; (3) the TAP-Express
Scripts Enterprise; and (4) the TAP-Medco Health Enterprise. Each of the TAP
Manufacturer-PBM Enterprises is an ongoing and continumeg business organization
consisting of both corporations and individuals that are and have been associated for the
common or shared purposes of selling, purchasing, prescribing and administering
AWPIDs to Plaintiffs and Class members, and deriving profits from these activities.
Each of the TAP Manufacturer-PBM Enterprises has a systemic linkage because there are
contractual relationships, financial ties, and continuing coordination of activities between
TAP and AdvancePCS, TAP and Caremark Rx, TAP and Express Scripts, and TAP and
Medco Health. As to each of these TAP Manufacturer-PBM Enterprises, there is a
common communication network by which TAP and AdvancePCS, TAP and Caremark
Rx, TAP and Express Scripts, and TAP and Medco Health share information on a regular
basis. As to each of these TAP Manufacturer-PBM Enterprises, TAP and AdvancePCS,
TAP and Caremark Rx, TAP and Express Scripts, and TAP and Medco Health functioned

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as continuing but separate units. At all relevant times, each of the TAP Manufacturer-
PBM Enterprises was operated and conducted by TAP for criminal purposes, namely,
carrying out the AWP Scheme.

(u) The Warrick Manufacturer-PBM Enterprises: The Warrick
Manufacturer-PBM Enterprises are four separate associations-in-fact consisting of each
of the PBMs that admimistered purchases of Warrick’s AWPIDs and billed its members
on the basis of Warrick’s reported AWPs, and Pfizer, inchuding its directors, employees
and agents: (1) the Warrick-AdvancePCS Enterprise; (2) the Warrick-Caremark Rx
Enterprise; (3) the Warrick-Express Scripts Enterprise; and (4) the Warrick-Medco
Health Enterprise. Each of the Warrick Manufacturer-PBM Enterprises is an ongoing
and continuing business organization consisting of both corporations and individuals that
are and have been associated for the common or shared purposes of selling, purchasing,
prescribing and administering AWPIDs to Plaintiffs and Class members, and deriving
profits from these activities. Each of the Warrick Manufacturer-PBM Enterprises has a
systemic linkage because there are contractual relationships, financial ties, and continuing
coordination of activities between Warrick and AdvancePCS, Warrick and Caremark Rx,
Warrick and Express Scripts, and Warrick and Medco Health. As to each of these
Warrick Manufacturer-PBM Enterprises, there is a common communication network by
which Warrick and AdvancePCS, Warrick and Caremark Rx, Warrick and Express
Scripts, and Warrick and Medco Health share information on a regular basis. As to each
of these Warrick Manufacturer-PBM Enterprises, Warrick and AdvancePCS, Warrick
and Caremark Rx, Warrick and Express Scripts, and Warrick and Medco Health
functioned as continuing but separate units. At all relevant times, each of the Warrick
Manufacturer-PBM Enterprises was operated and conducted by Warrick for criminal

purposes, namely, carrying out the AWP Scheme.

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(v) The Dey Manufacturer-PBM Enterprises: The Dey Manufacturer-PBM
Enterprises are four separate associations-in-fact consisting of each of the PBMs that
administered purchases of Dey’s AWPIDs and billed its members on the basis of Dey’s
reported AWPs, and Pfizer, including its directors, employees and agents: (1) the Dey-
AdvancePCS Enterprise; (2) the Dey-Caremark Rx Enterprise; (3) the Dey-Express
Scripts Enterprise; and (4) the Dey-Medco Health Enterprise. Each of the Dey
Manufacturer-PBM Enterprises is an ongoing and continuing business organization
consisting of both corporations and individuals that are and have been associated for the
common or shared purposes of selling, purchasing, prescribing and administering
AWPIDs to Plaintiffs and Class members, and deriving profits from these activities.
Each of the Dey Manufacturer-PBM Enterprises has a systemic linkage because there are
contractual relationships, financial ties, and contimuing coordination of activities between
Dey and AdvancePCS, Dey and Caremark Rx, Dey and Express Scripts, and Dey and
Medco Health. As to each of these Dey Manufacturer-PBM Enterprises, there is a
common communication network by which Dey and AdvancePCS, Dey and Caremark
Rx, Dey and Express Scripts, and Dey and Medco Health share information on a regular
basis. As to each of these Dey Manufacturer-PBM Enterprises, Dey and AdvancePCS,
Dey and Caremark Rx, Dey and Express Scripts, and Dey and Medco Health functioned
as continuing but separate units. At all relevant times, each of the Dey Manufacturer-
PBM Enterprises was operated and conducted by Dey for criminal purposes, namely,

carrying out the AWP Scheme.

The Defendant Drug Manufacturers’ Use of the U.S. Mails and Interstate
Wire Facilities

662, Each of the Manufacturer-PBM Enterprises and Medco Health engaged in and
affected interstate commerce because they engage in the following activities across state

boundaries: The sale, purchase and/or administration of drugs; and/or the transmission and/or

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receipt of sales and marketing literature; and/or the transmission to patients of individual
prescriptions for drugs by mail-order pharmacies; and/or the transmission and/or receipt of
invoices, statements and payments related to the use or administration of drugs. During the
Class Period, the Manufacturer-PBM Enterprises and Medco Health participated in the
administration of prescription drugs to millions of mdividuals located throughout the United
States.

663. During the Class Period, the Defendants Drug Manufacturers’ illegal conduct and
wrongful practices were carried out by an array of employees, working across state boundaries,
who necessarily relied upon frequent transfers of documents and information, products and funds
by the U.S. mails and interstate wire facilities.

664. The nature and pervasiveness of the Defendant Drug Manufacturers” AWP
Scheme, which was orchestrated out of the corporate headquarters of the Defendant Drug
Manufacturers, necessarily required those headquarters to communicate directly and frequently
by the U.S. mails and by interstate wire facilities with the various local district managers
overseeing the sales force(s), the numerous pharmaceutical sales representatives who, in turn,
directly communicated with providers and employees who communicated with the PBMs,
including Medco Health.

665. Many of the precise dates of Defendant Drug Manufacturers’ uses of the U.S.
mails and interstate wire facilities (and corresponding RICO predicate acts of mail and wire -
fraud) have been hidden and cannot be alleged without access to these Defendants’ books and
records. Indeed, an essential part of the successful operation of the AWP Scheme alleged herein
depended upon secrecy, and as alleged above, the Defendant Drug Manufacturers took deliberate
steps to conceal their wrongdoing. However, Plaintiffs can generally describe the occasions on
which the RICO predicate acts of mail fraud and wire fraud occurred, and how those acts were in

furtherance of the AWFP Scheme and do so below.

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666. The Defendant Drug Manufacturers’ use of the U.S. mails and mterstate wire
facilities to perpetrate the AWP Scheme involved thousands of communications throughout the
Class Period including, inter alia:

(a) Marketing materials about the AWPs for brand name drugs and the
available spread, which were sent by the Defendant Drug Manufacturers to PBMs
(including Medco Health) located across the country;

(b) ‘Written representations of the AWPs made by the Defendant Drug
Manufacturers to the Publishers, which were made at least annually and in many cases
several times during a single year;

(c} Thousands of written and oral communications discussing, negotiating and
confirming the placement of a Defendant Drug Manufacturer’s drugs on a particular
PBM’s formulary;

(d) Documents providing information or incentives designed to lessen the
prices that each of the PBMs paid for drugs, and/or to conceal those prices or the AWP
Scheme;

(e) Whitten communications, including checks, relating to rebates, kickbacks
or other financial inducements paid to each of the PBMs to persuade them to advocate
one Defendant Drug Manufacturers’ drug over a drug manufactured by a competitor;

(f) © Written and oral communications with U.S. Government agencies and
Private insurers that fraudulently misrepresented what the AWPs were, or that were
intended to deter investigations into the true nature of the AWPs or to forestall changes to
reimbursement based on something other than AWPs;

(gz) Written and oral communications with health insurers and patients;

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(h) Receipts of money on tens of thousands of occasions through the U.S.
mails and interstate wire facilities — the wrongful proceeds of the Defendant Drug
Manufacturers’ AWP Scheme; and

(i) In addition to the above-referenced RICO predicate acts, Defendants’
corporate headquarters have communicated through use of the U.S. mails and by
interstate wire facilities with their various local headquarters or divisions, in furtherance
of the AWP Scheme. These mails include some of the documents referenced in this
Amended Complaint.

Conduct of the RICO Enterprises’ Affairs

667. During the Class Period, each of the Defendant Drug Manufacturers have exerted
control over the Manufacturer-PBM Enterprises with which they were associated and, in
violation of Section 1962(c) of RICO, each of the Defendant Drug Manufacturers have
conducted or participated in the conduct of the affairs of those association-in-fact RICO
enterprises, directly or indirectly. Such participation was carried out in the following ways:

(a) Each of the Defendant Drug Manufacturers has directly controlled the
price for tts AWPIDs, which determines the amount of each of the PBMs’ compensation;
(b) Each of the Defendant Drug Manufacturers has directly controlled the

AWPs that are reported by the Publishers:

(d} Each of the Defendant Drug Manufacturers has directly controlled the-
creation and distribution of marketing, sales, and other materials used to inform each of
the PBMs of the profit potential of its AWPIDs;

(e) Each of the Defendant Drug Manufacturers has relied upon its employees
and agents to promote the AWP Scheme through the U.S. mails, through interstate wire

facilities, and through direct contacts with providers and the PBMs; and

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(H Each of the Defendant Drug Manufacturers has controiled and participated
in the affairs of the Manufacturer-PBM Enterprises with which they are associated by
providing or receiving rebates (as detailed above) or other inducements to place a certain
Defendant Drug Manufacturer’s AWPIDs on a PBM formulary or advocate the use ofa
certain AWPID. These inducements include drug manufacturers’ payment to PBMs of:
(i) access rebates for placement of products on the PBMs’ formulary; (ii) market share
rebates for garnering higher market share than established targets; (111) administrative fees
for assembling data to verify market share results; and (iv) other fees and grants.
Although PBMs typically agree to share rebates in some form with clients, they link the

« rebates to formulary savings in such a manner that the PBM often is able to secretly
retain all of the rebates. Furthermore, PBMs refuse to disclose specific rebate amounts to
clients in any fashion other than in the aggregate compared to performance standards,
thereby preventing the client from learning the true amount of rebates that the PBM has
received in connection with the health plan client.

668. Each of the Manufacturer-PBM Enterprises identified above had a hierarchical
decision-making structure headed by the respective Defendant Drug Manufacturer.

669. In violation of Section 1962(c) of RICO, each of the Defendant Drug
Manufacturers has conducted the affairs of each of the Manufacturer-PBM Enterprises with
which they associated by reporting fraudulently inflated AWPs for AWPIDs and by submitting
false and misleading invoices to Plaintiffs and members of the Classes, thereby inducing
Plaintiffs and Class members to pay inflated amounts for AWPIDs.

The Defendant Drug Manufacturers’ Pattern of Racketeering Activity

670. Each of the Defendant Drug Manufacturers has conducted and participated in the
affairs of their respective Manufacturer-PBM Enterprises through a pattern of racketeering

activity, including acts that are indictable under 18 U.S.C. § 1341, relating to mail fraud, and 18

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U.S.C. § 1343, relating to wire fraud. The Defendant Drug Manufacturers’ pattern of
racketeering likely involved thousands, if not hundreds of thousands, of separate instances of use
of the U.S. mails or interstate wire facilities in furtherance of their AWP Scheme. Each of these
fraudulent mailings and interstate wire transmissions constitutes a “racketeering activity” within
the meaning of 18 U.S.C. § 1961(1) (B). Collectively, these violations constitute a “pattern of
racketeering activity,” within the meaning of 18 U.S.C. § 1961(5), in which the Defendant Dug
Manufacturers intended to defraud Plaintiffs, members of the Classes and other intended victims
of the AWP Scheme.

671, The Defendant Drug Manufacturers’ fraudulent and unlawful AWP Scheme
consisted, in part, of deliberately overstating the AWPs for their AWPIDs, thereby creating a
“spread” based on the inflated figure in order to induce each of the PBMs to advocate and favor
that particular Defendant Ding Manufacturer’s drugs to the members of that PBM’s clients.
Further, each of the PBMs billed their clients for the particular Defendant Drug Manufacturers’
AWPIDs based on the inflated AWPs, which did not reflect the true price paid by the PBMs for
the AWPIDs.

672. The AWP Scheme was calculated and intentionally crafted to ensure that
Plaintiffs and members of the Classes would be over-billed for AWPIDs. In designing and
implementing the AWP Scheme, at all times the Defendant Drug Manufacturers were cognizant
-of the fact those in the distribution chain that were not part of the enterprise relied upon-the
integrity of the Defendant Drug Manufacturers in setting the AWPs, as reported by the
Publishers.

673. By intentionally and artificially inflating the AWPs, and by subsequently failing
to disclose such practices to the individual] patients and their insurers, each of the Defendant
Dmg Manufacturers engaged in a fraudulent and unlawful course of conduct constituting a

pattern of racketeering activity.

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674. The Defendant Dg Manufacturers’ racketeering activities amounted to a
common course of conduct, with similar pattern and purpose, intended to deceive Plaintiffs and
members of the Classes. Each separate use of the U.S. mails and/or interstate wire facilities
employed by each of the Defendant Drug Manufacturers was related, had similar intended
purposes, involved similar participants and methods of execution, and had the same results
affecting the same victims, including Plaintiffs and members of the Classes. Each of the
Defendant Drug Manufacturers has engaged in the pattern of racketeering activity for the
purpose of conducting the ongoing business affairs of the respective Manufacturer-PBM
Enterprises with which each of them is and was associated-in-fact.

The Defendant Drug Manufacturers’ Motive

675. The Defendant Drug Manufacturers’ motive in creating and operating the AWP
Scheme and conducting the affairs of the Manufacturer-PBM Enterprises described herein was to
fraudulently obtain sales of and profits from their AWPIDs.

676. The AWP Scheme was designed to, and did, encourage others, including health
care providers, to advocate the use of the Defendant Drug Manufacturers’ AWPIDs. Thus, each
of the Defendant Drug Manufacturers used the AWP Scheme to sell more of its drugs, thereby
fraudulently gaining sales and market share and profits.

Damages Caused by the Defendant Drug Manufacturers’ AWP Scheme

677. The Defendant Drug Manufacturers’ violations of federal law and their pattern of
racketeering activity have directly and proximately caused Plaintiffs and members of the Classes
to be injured in their business or property because Plaintiffs and Class members have paid many
hundreds of millions of dollars in inflated reimbursements for AWPIDs.

678. The Defendant Drug Manufacturers sent billing statements through the U.S. mails

or by interstate wire facilities and reported AWPs and other information by the same methods in

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furtherance of their AWP Scheme. Plaintiffs and members of the Classes have made inflated
payments for AWPIDs based on and/or in reliance on reported and false AWPs.

679. Under the provisions of Section 1964(c) of RICO, the Defendant Drug
Manufacturers are jointly and severally liable to Plaintiffs and members of the Classes for three
times the damages that Plaintiffs and Class members have sustained, plus the costs of bringing

this suit, including reasonable attomeys’ fees.

COUNT I
DECLARATORY AND OTHER RELIEF PURSUANT TO 28 U.S.C. §§ 2201, 2002

(AGAINST DEFENDANT DRUG MANUFACTURERS FOR UNLAWFUL CONDUCT
ASSOCIATED WITH MEDICARE PART B COVERED DRUGS)

680. Plaintiffs, on behalf of themselves and all others similarly situated, reallege and
incorporate herein by reference each of the allegations contained in the preceding paragraphs of
this Complaint.

681. Anactual case and controversy exists between the Plamtiffs and each of the
Defendant Drug Manufacturers with respect to the Defendant Drug Manufacturers’ conduct of
inflating the published reimbursement rates for AWPIDs. The Plaintiffs contend that setting
stated reimbursement prices above the actual average wholesale price for AWPIDs is unlawful,
and that each Defendant Drug Manufacturer does so in violation of applicable law, knowing that
Medicare beneficiaries and other end payors will incur similarly inflated co-payments and
payments for AWPIDs.

682. Each Defendant Dmg Manufacturer contends to the contrary. Each of the
Defendant Drug Manufacturers, either by itself or through groups or its trade association,
contend that they may exploit the Medicare reimbursement system without limit, and regardless
of its effect on Medicare beneficiaries and their insurers.

683. The Plaintiffs, on behalf of themselves, their constituent members and all others

similarly situated, are entitled to a judgment declaring that the practice of the Defendant Drug

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Manufacturers of inflating stated reimbursement rates for AWPIDs is unlawful, and are entitled

to further relief pursuant to 28 U.S.C. § 2202.

COUNT IV .
VIOLATIONS OF CONSUMER PROTECTION STATUTES

684. Plaintiffs, on behalf of themselves and all others similarly situated, reallege and
incorporate herein by reference each of the allegations contained in the preceding paragraphs of
this Complaint.

685. This Count is asserted by the AWP End Payor Class by each class representative.

686. Defendants are incorporated, or maintain their principal places of business, m
either California, Delaware, Illinois, New Jersey, Pennsylvania or Washington. In addition,
individual Patient and Third-Party Payor Plaintiffs reside in either California, Florida, New
York, Minnesota, Louisiana, Pennsylvania or Texas. Each of these states has enacted statutes to
protect consumers against unfair, deceptive or fraudulent business practices, unfatr competition
and false advertising. The statutes of these states, legally and substantively common, provide

consumers with a private right of action, as follows:

California: Cal. Civ. Code §§ 1750, Bus. & Prof. Code § 17200, et seq.
and 17500, et seq.
Delaware: 6 Del. Code §§ 2511-2537
Florida: Fla. Stat. Stat. §§ 501.201-501.213
Hlinois: $15 ILCS § 505/1, et seg.
Louisiana: La. Rev. Stat. Ann. § 51:1405
Minnesota: Minn. Stat. Ann. §§ 325D.09 - 325D.16, § 325F.67 - 69
New Jersey: NJ. Stat. Ann. §§ 56:8-1 - 56:8-24
New York: N.Y. Gen. Bus. L. §§ 349-350
Pennsylvania: 73 Pa. Stat. § 201-1 et seq.
Texas: Tex. Bus. & Com. Code §§ 17.41 B 17.63
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Washington: RCW 19.86.010, ef seq.

These statutes do not require a showing of either scienter or individual reliance.

687.

Defendants’ conduct, as alleged in this Complaint, constitutes unfair and

’ deceptive acts or practices, unconscionable practices, fraud, false pretense, false promise,

mistepresentation, concealment, suppression or omission of material fact in violation of these

statutes. Defendants’ continuing violations include:

688.

(a) Failing to disclose material facts in the conduct of
trade or commerce in that they have not disclosed that the AWP
does not reflect the true average wholesale price of the drugs they
sell, and that the published AWPs are instead deliberately inflated
in order to (1) increase the prices paid by Plaintiffs and the
memibers of the Classes; (2) increase the profitability of the
Defendant Drug Manufacturer’s drugs to the providers who
prescribe or dispense them, and to the other mtermediaries that
promote them; and thereby (3) increase Defendants’ market shares
and profits;

(b) Making false or misleading statements of fact
concerning the price of goods in that they have not reported the
true AWP paid for ther medications m order to accomplish the
goals described above;

{c) Knowingly making false representations in a
transaction by representmg that the AWP 1s an accurate reflection
of the average wholesale price paid for their drugs when AWP is,
in reality, a fictitious and inflated amount;

(qd) —- Publishing fictitious and mflated AWPs im the Red
Book and other publications;

(e) Encouraging Medicare Part B providers to use
drugs based upon the “spread” as opposed to medicines being
prescribed based on medical reasons; and

(f) Providing PBMs with a cut on the spread in return
for the PBMs’ participation in the AWP scheme.

Defendants willfully engaged in such practices knowing them to be deceptive and

with the intent that Plaintiffs and the Class would rely thereon.

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689, The wrongful conduct alleged in this Complaint occurs, and continues to occur, in
the ordinary course of Defendants’ business or occupation and has caused great harm to
Plaintiffs and the Class, who were foreseeable and direct victims.

690. Defendants have injured the public interest, and Defendants’ actions continue to
pose a threat to the public.

691, Asa direct and legal result of Defendants’ misleading, deceptive, unfair, false and
fraudulent trade practices, Plaintiffs and the Class have sustained damages.

COUNT V

CLAIM FOR INJUNCTIVE RELIEF UNDER SECTION 16 OF THE CLAYTON ACT
ARISING FROM THE TOGETHER CARD CONSPIRACY

692. Plaintiffs, on behalf of themselves and the Nationwide End Payor Together Card
Class, reallege and incorporate herein by reference each of the allegations contained in the
preceding paragraphs of this complaint.

693. The acts of the Together Card Defendants which violated federal and state
antitrust laws were authorized, ordered, or done by the Together Card Defendants’ officers,
agents, employees, or representatives while actively engaged in the management of the Together
Card Defendants’ business or affairs.

694. Various other individuals, partnerships, sole proprietors, business entities,
companies and corporations, presently unknown to Plaintiffs and not named as Together Card
Defendants in this complaint, participated as co-conspirators in the violations of federal and state
antitrust laws alleged herein and performed acts and made statements in furtherance thereof.
Such unknown persons or entities acted as co-conspirators and aided, abetted or participated with
the Together Card Defendants in the conmnission of the wrongful acts alleged in this complaint.

695. During the Class Period, the Together Card Defendants sold, or facilitated the sale
of, Together Card Drugs in a continuous and uninterrupted flow of interstate commerce to

customers located mm countries and states other than the countries or states in which Defendants

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produced the Together Card Drugs. The business activities of the Together Card Defendants
were thus within the flow of, and substantially affected, interstate trade and commerce.

696. ‘The combination or conspiracy alleged in this Complaint consisted of a
continuing agreement, understanding or concert of action by Defendants, and their other co-
conspirators, the substantial terms of which were to raise, fix and maintain the AWP spreads of
the Together Card Drugs.

697. As the result of the Together Card Defendants’ wrongful conduct, Plaintiffs and
the Nationwide End Payor Together Card Class paid higher prices for the Together Card Drugs
than they would have paid but for the Together Card Defendants’ anticompetitive conduct, and
have been injured in their business or property.

698. The Together Card Defendants should be enjoined under federal law, including
Section 16 of the Clayton Act, from contmuing their anticompetitive conduct. Absent an
injunction, the effects of this anticompetitive conduct will continue. In a country where tens of
thousands of citizens cannot afford prescription drugs, or where the expense of such drugs is a
great burden on millions, any continuing anticompetitive conduct is a serious matter that needs
injunctive relief as a remedy.

COUNT VI

CLAIM FOR VIOLATION OF SHERMAN ACT, 15 U.S.C. § 1
ON BEHALF OF NATIONWIDE END PAYOR TOGETHER CARD CLASS

699. Plaintiffs, on behalf of themselves and the Nationwide End Payor Together Card
Class, reallege and incorporate herein by reference each of the allegations contained in the
preceding paragraphs of this complaint.

700. The combination or conspiracy alleged in this complaint consisted of a continuing
agreement, understanding or concert of action by the Together Card Defendants, and their other
co-conspirators, the substantial terms of which were to raise, fix and maintain the AWP spreads

of the Together Card Drugs.

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701. The Together Rx Card conspiracy was intended to affect directly, and to affect the
end payors of the pharmaceutical products covered by the Together Card program, Ze., the
National End Payor Together Card Class and Together Card enrollees. The intent, purpose and
effect of the Together Rx Card conspiracy was to cause over-reimbursement for certain drugs,
and thereby increase available “spread” dollars for other participants in the distribution channel
(ie., wholesalers, distributors, pharmacies and/or PBMs} to the detriment of the National End
Payor Together Card Class.

702. Through the Together Rx Card conspiracy, the Together Card Defendants have in
fact caused an increase in end payor remmbursement or payments for many of the drugs that are
covered by the Together Rx Card program, and at the same time the conspiracy had the intent,
purpose and effect of not affecting (either directly or indirectly) transaction costs and/or prices to
all other participants in the distribution chain (i.¢., wholesalers, distributors, pharmacies and
PBMs).

703. As the result of the Together Card Defendants’ wrongful conduct, Plaintifis and
the Nationwide End Payor Together Card Class paid higher prices for the Together Card Drugs
than they would have paid but for Defendants’ anticompetitive conduct, have been injured in
their business or property, and have suffered damages in an amount to be determined at trial.

704. Plaintiffs and the Nationwide End Payor Together Card Class are entitled to
recover all damages and treble damages allowed under § 1 of the Sherman Act against Together
Card Defendants, jointly and severally, together with their costs of suit, including reasonable

attorneys’ fees.

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COUNT VI
CLAIM FOR VIOLATION OF THE ANTITRUST STATUTES OF THE INDIRECT
PURCHASER STATES ON BEHALF OF INDIRECT PURCHASER STATES END
PAYOR TOGETHER CARD CLASS
705. Plaintiffs, on behalf of themselves and the Indirect Purchaser States End Payor
Together Card Class, reallege and incorporate herein by reference each of the allegations
contained in the preceding paragraphs of this complaint. Plaintiffs allege and assest that
Plaintiffs and members of the Nationwide End Payor Together Card Class are direct purchasers
in that they are the first and only ones in the distribution chain that actually pay and are harmed
as a result of the agreement to fix reimbursement rates and the AWP spreads. Everyone else in
the distribution chain benefits from the AWP, i.e., they receive a portion of the spread, but they
do not pay or reimburse based on AWP. However, to the extent any are deemed indirect
purchasers, this Count is asserted alternatively.
706. The Together Card Defendants’ conduct described herein constitutes unlawful
acts under the antitrust laws of the Indirect Purchaser States as follows:
a, Arizona: The aforementioned practices by the Together Card Defendants
were and are in violation of the Arizona Uniform State Antitrust Act, Ariz. Rev. Stat. §§ 44-
1401, et seg., the Arizona Consumer Fraud Act, Ariz. Rev. Stat §§ 44-1521, ef seq., and the
Constitution of the State of Arizona, Article 14, § 15;
b. California: The aforementioned practices by the Together Card
Defendants were and are in violation of the Cartwright Act, Cal. Bus. & Prof. Code §§ 16700, et
seq. and the California Unfair Competition Act, Cal. Bus. & Prof. Code §§ 17200, et seq.;
c. District of Columbia: The aforementioned practices by the Together Card
Defendants were and are in violation of the District of Columbia Antitrust Act, D.C. Code §§ 28-

4501, et seq.;

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d. Florida: The aforementioned practices by the Together Card Defendants
were and are m violation of the Florida Antitrust Act, Fla. Stat. Ann. §§ 542.15, et seq., and the
Florida Deceptive and Unfair Trade Practices Act, Fla. Stat. Ann. §§ 501.201, er seq.;

é. Kansas: The aforementioned practices by the Together Card Defendants
were and are in violation of the Kansas Monopolies and Unfair Trade Act, Kan. Stat. Ann.

§§ 50-101, et seq., and the Kansas Consumer Protection Act, Kan. Stat. Ann §§ 50-623, ef seq.;

f. Kentucky: The aforementioned practices by the Together Card Defendants
were and are in violation of the Kentucky Consumer Protection Act, Ky. Rev. Stat. Ann.

§§ 367.110, ef seg., and the Kentucky Unfair Trade Practices Act, Ky. Rev. Stat. Ann
§§ 365.020, ef seq.;

g. Louisiana: The aforementioned practices by the Together Card Defendants
were and are in violation of the Louisiana Monopolies Law, La. Rev. Stat. Ann. §§ 51:121, et
seq., and the Louisiana Unfair Trade Practices and Consumer Protection Law, La. Rev. Stat.
Aan. §§ 51:1401, et seq.;

h. Maine: The aforementioned practices by the Together Card Defendants
were and are in violation of the Maine Monopolies and Profiteering Statute, Me. Rev. Stat. Ann.
tit. 10, §§ 1101, ef seg., and the Maine Unfair Trade Practices Act, Me. Rev. Stat. Ann. tit. 5,

§§ 205-A, ef seq.;

i. Massachusetts: The aforementioned practices by the Together Card
Defendants were and are in violation of the Massachusetts Antitrust Act, Mass. Gen. Laws, ch.
93, and the Massachusetts Consumer Protection Act, Mass. Gen. Laws ch. 93A;

j. Michigan: The aforementioned practices by the Together Card Defendants
were and are in violation of the Michigan Antitrust Reform Act, Mich. Comp. Laws §§ 445.771,

ef seq., and the Michigan Consumer Protection Act, §§ 445.901, et seq.;

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k. Minnesota: The aforementioned practices by the Together Card
Defendants were and are in violation of the Minnesota Antitrust Law of 1971, Minn. Stat.
§§ 325D.49, et seg., and the Minnesota Consumer Fraud Act, Minn. Stat §§ 325F.67, et seq.;

L Nevada: The aforementioned practices by the Together Card Defendants
were and are in violation of the Nevada Unfair Trade Practices Act, Nev. Rev. Stat.
§§ 598A.010, ef seq., and the Nevada Deceptive Trade Practices Act, Nev. Rev. Stat.
$§ 598.0903, ef seq.;

mm. New Jersey: The aforementioned practices by the Together Card

Defendants were and are in violation of the New Jersey Antitrust Act, N.J. Stat. Amn. §§ 56:9-1,

et seq., and the New Jersey Consumer Fraud Act, N.J. Stat. Ann. §§ 56:8-1, et seq.;

n. New Mexico: The aforementioned practices by the Together Card
Defendants were and are in violation of the New Mexico Antitrust Act, N.M. Stat. Ann. §§ 57-1-
1, et seq., and the New Mexico Unfair Practices Act, N.M. Stat. Ann. §§ 57-12-1, er seq.;

0. New York: The aforementioned practices by the Together Card
Defendants were and are in violation of the Donnelly Act, N.Y. Gen. Bus. Law §§ 340, et seg.,
and the New York Deceptive Acts and Practices Act, N.Y. Gen. Bus. Law §§ 349, et seq.;

Pp. North Carolina: The aforementioned practices by the Together Card
Defendants were and are in violation of North Carolina’s antitrust and unfair competition law,
N.C. Gen. Stat. §§ 75-1, ef seq.;

q. North Dakota: The aforementioned practices by the Together Card
Defendants were and are in violation of the North Dakota Antitrust Act, N.D. Cent. Code §§ 51-
08.1-01, ef seq., and the North Dakota Consumer Fraud Act, N.D. Cent. Code §§ 51-15-01, et
seq.;

i. South Dakota: The aforementioned practices of the Together Card

Defendants were and are in violation of South Dakota’s antitrust law, S.D. Codified Laws §§ 37-

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1-3, ef seg., and deceptive trade practices and consumer protection law, $.D. Codified Laws
§§ 37-24-1, et seq.;

s. Tennessee: The aforementioned practices of the Together Card
Defendants were and are in violation the Tennessee Trade Practices Act, Tenn. Code Ann. §§ 47-
25-101, et seqg., and the Consumer Protection Act, Tenn. Code Ann. §§ 47-18-10], ef seq.;

t. Vermont: The aforementioned practices of the Together Card Defendants
were and are in violation of the Vermont Consumer Fraud Act, Vt. Stat. tit. 9. §§ 2451, ef seq.;

u. West Virginia: The aforementioned practices by the Together Card
Defendants were and are in violation of the West Virginia Antitrust Act, W.Va. Code §§ 47-18-
1, et seq., and the West Virginia Consumer Credit and Protection Act, W. Va. Code §§ 46A-6-
101, et seq.; and

Vv. Wisconsin: The aforementioned practices by the Together Card
Defendants were and are in violation of the Wisconsin Antitrust Act, Wis. Stat. §§ 133.01, et
seq., and the Wisconsin Unfair Trade Practices Act, Wis. Stat. §§ 100.20, et seq.

707. As the result of the Together Card Defendants’ wrongful conduct, Plaintiffs and
the Indirect Purchaser States End Payor Together Card Class paid higher prices for the Together
Card Drugs than they would have paid but for the Together Card Defendants’ anticompetitive
conduct, have been injured in their business or property, and have suffered damages in an
amount to be determined at trial.

708%. Plaintiffs and the Indirect Purchaser States End Payor Together Card Class are
entitled to recover all damages and treble damages, as permitted by law under these antitrust
statutes against the Together Card Defendants, together with their costs of suit, mcluding

reasonable attomeys’ fees.

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COUNT VII
VIOLATIONS OF 18 U.S.C. § 1962(C)-(D)

(AGAINST THE TOGETHER CARD DEFENDANTS
FOR UNLAWFUL CONDUCT ASSOCIATED WITH TOGETHER RX)

709. Plaintiffs, on behalf of themselves and all others similarly situated, reallege and
incorporate herein by reference each of the allegations contained in the preceding paragraphs of
this complaint.

710. This Count, which alleges violations of Section 1962(c) and (d) of RICO, 18
U.S.C. § 1962(c)-(d), is asserted against the Together Card Defendants on behalf of the
Nationwide End Payor Together Card Class.

711. Plaintiffs, the members of the Nationwide End Payor Together Card Class, and
the Together Card Defendants identified in the previous paragraphs of this complaint are each
“persons,” as that term is defined in 18 U.S.C. § 1961(3).

712. Together Rx, LLC, which administers the Together Rx Card Program, is the
product of an alliance formed by Abbot, AstraZeneca, Aventis, BMS Group, GSK Group,
Johnson & Johnson Group, Novartis, and TAP. For purposes of this claim, Together Rx is and
was an “enterprise” (the “Together Rx Enterprise”), as that term is defined in 18 U.S.C.

§ 1961(4). During the Class Period, the Together Card Defendants conducted or participated,
directly or indirectly, in the conduct of the affairs of the Together Rx Enterprise through a
pattem of racketeering activity and/or conspired to do so, in violation of Section 1962(c) and (d)

of RICO, 18 U.S.C. § 1962(c)-(d) (the “Together Rx Card Scheme”).

The Together Card Defendants’ Use of the U.S. Mails and Interstate
Wire Facilities

713. The Together Rx Enterprise engaged in and affected interstate commerce because
it engaged in the following activities across state boundaries: The dissemination of Together Rx
Cards io hundreds of thousands of consumers located nationwide; the use of Together Rx Cards

in consumers” purchases of brand name drugs; the transmission and/or receipt of sales and

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marketing literature; the transmission to patients of individual prescriptions for brand name drugs
by mail-order pharmacies; and the transmission and/or receipt of mvoices, statements and
payments related to the use or administration of brand name drugs.

714. During the Together Rx Class Period, the Together Card Defendants’ illegal
conduct and wrongful practices regarding the Together Rx Card Scheme were carried out by an
array of employees, working across state boundaries, who necessarily relied upon frequent
transfers of documents and information, products and funds by the U.S. mails and interstate wire
facilities.

715. The nature and pervasiveness of the Together Card Defendants’ scheme or artifice
to defraud consumers via the Together Rx Card Scheme, which was orchestrated out of the
corporate headquarters of the Together Card Defendants, necessarily required those headquarters
to communicate directly and frequently by the U.S. mails and by interstate wire facilities with
each other, with Together Rx, and with consumers located nationwide who signed up for the
Together Rx Card Program.

716. Many of the precise dates of Together Card Defendants’ uses of the U.S. mails
and interstate wire facilities (and corresponding RICO predicate acts of mail and wire fraud)
have been hidden and cannot be alleged without access to these Defendants’ books and records.
Indeed, an essential part of the successful operation of the Together Rx Card Scheme depended
upon secrecy, and as alleged above, these defendants tock deliberate steps to conceal their
wrongdoing. However, Plaintiffs can generally describe the occasions on which the RICO
predicate acts of mail fraud and wire fraud occurred, and how those acts were in furtherance of
the scheme and do so below.

717. The Together Card Defendants’ use of the U.S. mails and interstate wire facilities
to perpetrate the Together Rx Card Scheme involved thousands of communications throughout

the Class Period including, iter afta:

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